                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE




 UNITED STATES OF AMERICA                             )
                                                      )
 v.                                                   )     No. 3:05-CR-146
                                                      )     (Phillips)
 ROBERT ANTOINE TRUSS, et al.,                        )



                                       ORDER



              There being no timely objection by defendants, see 28 U.S.C. § 636(b)(1),

 and the court being in complete agreement with the magistrate judge, the Report and

 Recommendation [Doc. 95] filed by the Honorable C. Clifford Shirley, United States

 Magistrate Judge, on April 14, 2006, is hereby ACCEPTED IN WHOLE whereby

 defendants’ motions to dismiss the indictment [Docs. 62, 67] are DENIED.



                                        ENTER:



                                               s/ Thomas W. Phillips
                                             United States District Judge




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